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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 KNIGHT FIRST AMENDMENT
 INSTITUTE AT COLUMBIA
 UNIVERSITY,

               Plaintiff,
                                                      Oral Argument Requested
        v.
                                                      Civil Action No. 1:17-cv-00548-TSC

 DEPARTMENT OF HOMELAND
 SECURITY, et al.,

               Defendants.



             PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT

       Plaintiff Knight First Amendment Institute at Columbia University moves for summary

judgment pursuant to Rule 56(a) of the Federal Rules of Civil Procedure. The grounds for the

Plaintiff’s cross-motion and opposition to the Defendants’ motion appear in the accompanying

memorandum.

                                                      Respectfully,


Date: March 3, 2020                                  /s/ Matthew S. Hellman
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